Case: 1:21-cv-06546 Document #: 70-37 Filed: 11/08/22 Page 1 of 4 PageID #:1094




                                    EXHIBIT 32
Case: 1:21-cv-06546 Document #: 70-37 Filed: 11/08/22 Page 2 of 4 PageID #:1095




                                                                       Exhibit 32
Case: 1:21-cv-06546 Document #: 70-37 Filed: 11/08/22 Page 3 of 4 PageID #:1096




                                                                       Exhibit 32
Case: 1:21-cv-06546 Document #: 70-37 Filed: 11/08/22 Page 4 of 4 PageID #:1097




                                                                       Exhibit 32
